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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.:

  MICHELLE VON WALD and
  LINO CARRERAS,

             Plaintiffs,

  vs.

  CITY OF MIAMI, FLORIDA,
  CARLOS DECESPEDES, individually,
  and GREGORY MALLETT, individually,

           Defendants.
  ________________________________/

                                            COMPLAINT

             1.    This is a civil action seeking money damages in excess of $15,000, exclusive of

  costs, interest, and attorney’s fees, against CITY OF MIAMI, FLORIDA, CARLOS

  DECESPEDES, individually, and GREGORY MALLETT, individually.

                                   JURISDICTION AND VENUE

             2.    This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1988, the

  Fourth Amendment and Fourteenth Amendment of the United States Constitution, and the laws

  of the State of Florida. The United States District Court for the Southern District of Florida has

  jurisdiction of this action under 42 U.S.C. § 1983, 42 U.S.C. § 1988, 28 U.S.C. § 1331 and 28

  U.S.C. § 1343. PLAINTIFFS further invoke the supplemental jurisdiction of the United States

  District Court for the Southern District of Florida under 28 U.S.C. § 1367(a) to hear pendent

  State tort claims arising under State law, pursuant to U.S.C. § 1367(a).

             3.    PLAINTIFFS presented their claims in writing to DEFENDANT CITY by

  means of a notice of claim letter in full satisfaction of Florida Statute § 768.28 within three (3)



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  years of the accrual of the causes of action.

             4.    DEFENDANT CITY never made final disposition of the written claims of

  PLAINTIFF within six (6) months of their presentation.

                                                  PARTIES

             5.    PLAINTIFF MICHELLE VON WALD (hereinafter PLAINTIFF VON WALD)

  is a resident of Miami-Dade County, Florida and is subject to the jurisdiction of this Court.

             6.    PLAINTIFF LINO CARRERAS (hereinafter PLAINTIFF CARRERAS) is a

  resident of Miami-Dade County, Florida and is subject to the jurisdiction of this Court.

             7.    DEFENDANT CITY OF MIAMI, FLORIDA (hereinafter DEFENDANT

  CITY) is a municipal corporation located in Miami-Dade County, Florida. In this cause,

  DEFENDANT CITY acted through its agents, employees, and servants, including

  DEFENDANT DECESPEDES and DEFENDANT MALLETT.

             8.    At all times material, DEFENDANT CARLOS DECESPEDES (hereinafter

  DEFENDANT DECESPEDES) was acting under color of law as a police officer for the City of

  Miami, and in such capacity, as an agent, servant, and employee of DEFENDANT CITY.

             9.    At all times material, DEFENDANT GREGORY MALLETT (hereinafter

  DEFENDANT MALLETT) was acting under color of law as a police officer for the City of

  Miami, and in such capacity, as an agent, servant, and employee of DEFENDANT CITY.

                                                  FACTS

             10.   On or about August 13, 2015, PLAINTIFFS flagged down DEFENDANT

  DECESPEDES regarding a mistaken parking infraction that they had received at or near 1800

  NW 24th Avenue, Miami, Florida 33125.

             11.   When PLAINTIFF CARRERAS verbally expressed his displeasure regarding




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  DEFENDANT DECESPEDES’ unwillingness to assist, DEFENDANT DECESPEDES arrested

  him.

             12.   Particularly disturbing was DEFENDANT DECESPEDES pointing the red

  beams from a taser at PLAINTIFF CARRERAS for an extended period of time while family

  members, including children, frantically feared for his safety.

             13.   Even taking DEFENDANT DECESPEDES’ factual allegations as entirely

  accurate, PLAINTIFF CARRERAS was arrested based solely on the use of non-threatening

  words.

             14.   PLAINTIFF VON WALD, who remained unimaginably calm even as they were

  arresting her son, PLAINTIFF CARRERAS, for no legal reason, was stunningly arrested as well.

             15.   DEFENDANT DECESPEDES and DEFENDANT MALLETT arrested

  PLAINTIFF CARRERAS and charged PLAINTIFF CARRERAS in the police report with

  disorderly conduct and resisting without violence, and took him to a Miami-Dade facility for

  processing.

             16.   DEFENDANT DECESPEDES and DEFENDANT MALLETT arrested

  PLAINTIFF VON WALD and charged PLAINTIFF VON WALD in the police report with

  battery on a law enforcement officer, and took her to a Miami-Dade facility for processing.

             17.   PLAINTIFF CARRERAS was kept confined in custody overnight, and released

  the next day pursuant to a posted bond, on August 14, 2015.

             18.   PLAINTIFF VON WALD was kept confined in custody overnight, and released

  the next day pursuant to a posted bond, on August 14, 2015.

             19.   The office of Katherine Fernandez Rundle, the State Attorney in and for the

  Eleventh Judicial Circuit in Miami-Dade County, Florida, downfiled PLAINTIFF VON




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  WALD’s charge of felony battery on a law enforcement officer to a misdemeanor battery on

  September 11, 2015 and subsequently entered a “nolle prosequi” in PLAINTIFF VON WALD’s

  misdemeanor criminal case on November 3, 2015, thereby dismissing charges of any kind

  arising from her aforementioned arrest.

             20.   The office of Katherine Fernandez Rundle, the State Attorney in and for the

  Eleventh Judicial Circuit in Miami-Dade County, Florida, entered a “nolle prosequi” in

  PLAINTIFF CARRERAS’ criminal case on November 30, 2015, thereby dismissing charges of

  any kind arising from his aforementioned arrest.

                                      CAUSES OF ACTION

                                                COUNT 1

   UNREASONABLE SEIZURE OR FALSE ARREST/FALSE IMPRISONMENT CLAIM
   BY PLAINTIFF VON WALD AGAINST DEFENDANT DECESPEDES, COGNIZABLE
                          UNDER 42 U.S.C. § 1983

  For her cause of action against DEFENDANT DECESPEDES, individually, in Count 1,

  PLAINTIFF VON WALD states:

             21.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 1,

  the allegations of paragraphs 1 through 20.

             22.   DEFENDANT DECESPEDES directly or proximately caused PLAINTIFF

  VON WALD’s arrest in the absence of probable cause that PLAINTIFF VON WALD

  committed any criminal offense.

             23.   The conduct of DEFENDANT DECESPEDES toward PLAINTIFF VON

  WALD, as set forth herein, was objectively unreasonable, and in violation of PLAINTIFF VON

  WALD’s clearly established rights under the Fourth and Fourteenth Amendments and 42 U.S.C.

  § 1983 to be free from unreasonable search and seizure, and to be free from arrest and




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  imprisonment in the absence of probable cause.

             24.   As a direct and proximate cause of the acts described above, PLAINTIFF VON

  WALD suffered great humiliation, mental suffering, and damaged reputation, including business

  reputation/goodwill.

             25.   As a further direct and proximate result of DEFENDANT DECESPEDES’

  actions as set forth herein, PLAINTIFF VON WALD suffered loss of her liberty and freedom,

  loss of income, attorney expenses, costs of bond and defense, and loss of capacity for the

  enjoyment of life. PLAINTIFF VON WALD’s losses are either permanent or continuing and

  PLAINTIFF VON WALD will suffer the losses in the future, in violation of PLAINTIFF VON

  WALD’s civil rights. PLAINTIFF VON WALD has also agreed to pay the undersigned a

  reasonable fee for his services, herein.

         WHEREFORE, PLAINITFF VON WALD prays:

                   a)     Judgment for compensatory damages in excess of $15,000;

                   b)     Judgment for exemplary damages;

                   c)     Cost of suit;

                   d)     Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                   e)     Trial by jury as to all issues so triable; and

                   f)     Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 2

    UNREASONABLE SEIZURE OR FALSE ARREST/FALSE IMPRISONMENT CLAIM
    BY PLAINTIFF VON WALD AGAINST DEFENDANT MALLETT, COGNIZABLE
                         UNDER 42 U.S.C. § 1983

  For her cause of action against DEFENDANT MALLETT, individually, in Count 2, PLAINTIFF

  VON WALD states:




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             26.      PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 2,

  the allegations of paragraphs 1 through 20.

             27.      DEFENDANT MALLETT directly or proximately caused PLAINTIFF VON

  WALD’s arrest in the absence of probable cause that PLAINTIFF VON WALD committed any

  criminal offense.

             28.      The conduct of DEFENDANT MALLETT toward PLAINTIFF VON WALD,

  as set forth herein, was objectively unreasonable, and in violation of PLAINTIFF VON WALD’s

  clearly established rights under the Fourth and Fourteenth Amendments and 42 U.S.C. § 1983 to

  be free from unreasonable search and seizure, and to be free from arrest and imprisonment in the

  absence of probable cause.

             29.      As a direct and proximate cause of the acts described above, PLAINTIFF VON

  WALD suffered great humiliation, mental suffering, and damaged reputation, including business

  reputation/goodwill.

             30.      As a further direct and proximate result of DEFENDANT MALLETT’s actions

  as set forth herein, PLAINTIFF VON WALD suffered loss of her liberty and freedom, loss of

  income, attorney expenses, costs of bond and defense, and loss of capacity for the enjoyment of

  life. PLAINTIFF VON WALD’s losses are either permanent or continuing and PLAINTIFF

  VON WALD will suffer the losses in the future, in violation of PLAINTIFF VON WALD’s civil

  rights. PLAINTIFF VON WALD has also agreed to pay the undersigned a reasonable fee for his

  services, herein.

         WHEREFORE, PLAINITFF VON WALD prays:

                      a)   Judgment for compensatory damages in excess of $15,000;

                      b)   Judgment for exemplary damages;




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                   c)     Cost of suit;

                   d)     Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                   e)     Trial by jury as to all issues so triable; and

                   f)     Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT 3

  FIRST AMENDMENT RETALIATION CLAIM BY PLAINTIFF VON WALD AGAINST
         DEFENDANT DECESPEDES, COGNIZABLE UNDER 42 U.S.C. § 1983

  For her cause of action against DEFENDANT DECESPEDES, in Count 3, PLAINTIFF VON

  WALD states:

             31.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 3,

  the allegations of paragraphs 1 through 20.

             32.   DEFENDANT DECESPEDES’ arrest of PLAINTIFF VON WALD was in

  retaliation for PLAINTIFF VON WALD’s statements to DEFENDANT DECESPEDES and her

  action of recording a public official discharging his public duties, as protected by the First

  Amendment to the United States Constitution, and in the absence of probable cause that

  PLAINTIFF VON WALD committed any criminal offense.

             33.   The arrest of PLAINTIFF VON WALD by DEFENDANT DECESPEDES

  would likely deter a person of ordinary firmness from the exercise of First Amendment rights.

  The conduct of DEFENDANT DECESPEDES toward PLAINTIFF VON WALD constitutes

  unlawful retaliation in violation of PLAINTIFF VON WALD’s clearly established rights under

  the First and Fourteenth Amendments, and 42 U.S.C. § 1983.

             34.   As a direct and proximate cause of the acts described above, in violation of 42

  U.S.C. § 1983, PLAINTIFF VON WALD has suffered grievously, has been brought into public

  scandal, and with great humiliation, mental suffering, damaged reputation, including business



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  reputation/goodwill.

             35.   As a further direct and proximate result of the conduct of DEFENDANT

  DECESPEDES, PLAINTIFF VON WALD suffered loss of her liberty and freedom, mental

  anguish, loss of income, attorney expenses, costs of bond, and loss of capacity for the enjoyment

  of life. The losses are either permanent or continuing and PLAINTIFF VON WALD will suffer

  the losses in the future, in violation of PLAINTIFF VON WALD’s civil rights. PLAINTIFF

  VON WALD has also agreed to pay the undersigned a reasonable fee for his services herein.

         WHEREFORE, PLAINITFF VON WALD prays:

                   a)    Judgment for compensatory damages in excess of $15,000;

                   b)    Judgement for exemplary damages;

                   c)    Cost of suit;

                   d)    Reasonable attorneys fees, pursuant to 42 U.S.C. § 1988;

                   e)    Trial by jury as to all issues so triable; and

                   f)    Such other relief as this Honorable Court may deem just and appropriate.


                                                COUNT 4

  FIRST AMENDMENT RETALIATION CLAIM BY PLAINTIFF VON WALD AGAINST
          DEFENDANT MALLETT, COGNIZABLE UNDER 42 U.S.C. § 1983

  For her cause of action against DEFENDANT MALLETT, in Count 4, PLAINTIFF VON

  WALD states:

             36.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 4,

  the allegations of paragraphs 1 through 20.

             37.   DEFENDANT MALLETT’s arrest of PLAINTIFF VON WALD was in

  retaliation for PLAINTIFF VON WALD’s statements to DEFENDANT MALLETT and her




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  action of recording a public official discharging his public duties, as protected by the First

  Amendment to the United States Constitution, and in the absence of probable cause that

  PLAINTIFF VON WALD committed any criminal offense.

             38.   The arrest of PLAINTIFF VON WALD by DEFENDANT MALLETT would

  likely deter a person of ordinary firmness from the exercise of First Amendment rights. The

  conduct of DEFENDANT MALLETT toward PLAINTIFF VON WALD constitutes unlawful

  retaliation in violation of PLAINTIFF VON WALD’s clearly established rights under the First

  and Fourteenth Amendments, and 42 U.S.C. § 1983.

             39.   As a direct and proximate cause of the acts described above, in violation of 42

  U.S.C. § 1983, PLAINTIFF VON WALD has suffered grievously, has been brought into public

  scandal, and with great humiliation, mental suffering, damaged reputation, including business

  reputation/goodwill.

             40.   As a further direct and proximate result of the conduct of DEFENDANT

  MALLETT, PLAINTIFF VON WALD suffered loss of her liberty and freedom, mental anguish,

  loss of income, attorney expenses, costs of bond, and loss of capacity for the enjoyment of life.

  The losses are either permanent or continuing and PLAINTIFF VON WALD will suffer the

  losses in the future, in violation of PLAINTIFF VON WALD’s civil rights. PLAINTIFF VON

  WALD has also agreed to pay the undersigned a reasonable fee for his services herein.

         WHEREFORE, PLAINITFF VON WALD prays:

                   a)     Judgment for compensatory damages in excess of $15,000;

                   b)     Judgement for exemplary damages;

                   c)     Cost of suit;

                   d)     Reasonable attorneys fees, pursuant to 42 U.S.C. § 1988;




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                      e)   Trial by jury as to all issues so triable; and

                      f)   Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 5

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF VON WALD
                     AGAINST DEFENDANT DECESPEDES

   For her cause of action against DEFENDANT DECESPEDES, in Count 5, PLAINTIFF VON

   WALD states:

               41.    PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 5,

   the allegations of paragraphs 1 through 20.

               42.    DEFENDANT DECESPEDES, by direct act or indirect procurement,

   personally participated in or proximately caused PLAINTIFF VON WALD’s false arrest and/or

   false imprisonment.

               43.    The actions of DEFENDANT DECESPEDES were taken in the absence of

   probable cause that PLAINTIFF VON WALD committed any criminal offense, and constitute

   false arrest and/or imprisonment under Florida law.

               44.    As a result of the false arrest and false imprisonment, PLAINTIFF VON WALD

   has suffered grievously and has been brought into public scandal, with great humiliation, mental

   suffering, and damaged reputation, and has suffered other damages, including but not limited to

   loss of earnings, loss of ability to earn future wages, loss of capacity for enjoyment of life, and

   loss of liberty.

               45.    PLAINTIFF VON WALD’s losses are either permanent or continuing in nature,

   and PLAINTIFF VON WALD will suffer the losses in the future.

           WHEREFORE, PLAINITFF VON WALD prays:

                      a)   Judgment for compensatory damages in excess of $15,000;



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                      b)   Cost of suit;

                      c)   Trial by jury as to all issues so triable; and

                      d)   Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 6

      FALSE ARREST/FALSE IMPRISONMENT CLAIM OF PLAINTIFF VON WALD
                      AGAINST DEFENDANT MALLETT

   For her cause of action against DEFENDANT MALLETT, in Count 6, PLAINTIFF VON

   WALD states:

               46.    PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 6

   the allegations of paragraphs 1 through 20.

               47.    DEFENDANT MALLETT, by direct act or indirect procurement, personally

   participated in or proximately caused PLAINTIFF VON WALD’s false arrest and/or false

   imprisonment.

               48.    The actions of DEFENDANT MALLETT were taken in the absence of probable

   cause that PLAINTIFF VON WALD committed any criminal offense, and constitute false arrest

   and/or imprisonment under Florida law.

               49.    As a result of the false arrest and false imprisonment, PLAINTIFF VON WALD

   has suffered grievously and has been brought into public scandal, with great humiliation, mental

   suffering, and damaged reputation, and has suffered other damages, including but not limited to

   loss of earnings, loss of ability to earn future wages, loss of capacity for enjoyment of life, and

   loss of liberty.

               50.    PLAINTIFF VON WALD’s losses are either permanent or continuing in nature,

   and PLAINTIFF VON WALD will suffer the losses in the future.

           WHEREFORE, PLAINITFF VON WALD prays:



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                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Cost of suit;

                    c)    Trial by jury as to all issues so triable; and

                    d)    Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 7

       MALICIOUS PROSECUTION CLAIM BY PLAINTIFF VON WALD AGAINST
                  DEFENDANT DECESPEDES, INDIVIDUALLY

   For her cause of action against DEFENDANT DECESPEDES, individually, in Count 7,

   PLAINTIFF VON WALD states:

              51.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 7,

   the allegations of paragraphs 1 through 20.

              52.   No reasonably cautious police officer in the position of DEFENDANT

   DECESPEDES would have believed PLAINTIFF VON WALD was guilty-in-fact of any

   criminal offense.

              53.   DEFENDANT DECESPEDES, individually, directly or proximately caused

   criminal proceedings to be instituted or continued against PLAINTIFF VON WALD with malice

   and in the absence of probable cause that PLAINTIFF VON WALD committed any criminal

   offense by causing police reports to be submitted to prosecuting authorities containing materially

   false statements and material omissions.

              54.   The conduct of DEFENDANT DECESPEDES, individually, was reckless and

   without regard to whether the institution of continuation of criminal proceedings against

   PLAINTIFF VON WALD were justified.

              55.   At all times material hereto, DEFENDANT DECESPEDES knew that his sworn

   police reports would be submitted to prosecuting authorities, and would be relied upon by



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   prosecuting authorities for the institution and continuation of criminal proceedings against

   PLAINTIFF VON WALD.

              56.   The criminal proceedings instituted or continued by DEFENDANT

   DECESPEDES reached a bona fide resolution in the favor of PLAINTIFF VON WALD.

              57.   As a direct and proximate result of the acts described above, PLAINTIFF VON

   WALD has suffered grievously and has been brought into public scandal, with great humiliation,

   mental suffering and damaged reputation, including business reputation/goodwill.

              58.   As a further direct and proximate result of the conduct of DEFENDANT

   DECESPEDES, individually, PLAINTIFF VON WALD suffered loss of her liberty and

   freedom, loss of income, attorney expenses, cost of defense, and loss of capacity for the

   enjoyment of life. PLAINTIFF VON WALD’s losses are either permanent or continuing and

   PLAINTIFF VON WALD will suffer the losses in the future, in violation of PLAINTIFF VON

   WALD’s rights.

          WHEREFORE, PLAINITFF VON WALD prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Judgment for exemplary damages;

                    c)    Cost of suit;

                    d)    Trial by jury as to all issues so triable; and

                    e)    Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 8

       MALICIOUS PROSECUTION CLAIM BY PLAINTIFF VON WALD AGAINST
                   DEFENDANT MALLETT, INDIVIDUALLY

   For her cause of action against DEFENDANT MALLETT, individually, in Count 8, PLAINTIFF

   VON WALD states:



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              59.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 8,

   the allegations of paragraphs 1 through 20.

              60.   No reasonably cautious police officer in the position of DEFENDANT

   MALLETT would have believed PLAINTIFF VON WALD was guilty-in-fact of any criminal

   offense.

              61.   DEFENDANT MALLETT, individually, directly or proximately caused

   criminal proceedings to be instituted or continued against PLAINTIFF VON WALD with malice

   and in the absence of probable cause that PLAINTIFF VON WALD committed any criminal

   offense by causing police reports to be submitted to prosecuting authorities containing materially

   false statements and material omissions.

              62.   The conduct of DEFENDANT MALLETT, individually, was reckless and

   without regard to whether the institution of continuation of criminal proceedings against

   PLAINTIFF VON WALD were justified.

              63.   At all times material hereto, DEFENDANT MALLETT knew that his sworn

   police reports would be submitted to prosecuting authorities, and would be relied upon by

   prosecuting authorities for the institution and continuation of criminal proceedings against

   PLAINTIFF VON WALD.

              64.   The criminal proceedings instituted or continued by DEFENDANT MALLETT

   reached a bona fide resolution in the favor of PLAINTIFF VON WALD.

              65.   As a direct and proximate result of the acts described above, PLAINTIFF VON

   WALD has suffered grievously and has been brought into public scandal, with great humiliation,

   mental suffering and damaged reputation, including business reputation/goodwill.

              66.   As a further direct and proximate result of the conduct of DEFENDANT




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   MALLETT, individually, PLAINTIFF VON WALD suffered loss of her liberty and freedom,

   loss of income, attorney expenses, cost of defense, and loss of capacity for the enjoyment of life.

   PLAINTIFF VON WALD’s losses are either permanent or continuing and PLAINTIFF VON

   WALD will suffer the losses in the future, in violation of PLAINTIFF VON WALD’s rights.

             WHEREFORE, PLAINITFF VON WALD prays:

                     a)   Judgment for compensatory damages in excess of $15,000;

                     b)   Judgment for exemplary damages;

                     c)   Cost of suit;

                     d)   Trial by jury as to all issues so triable; and

                     e)   Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 9

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF VON WALD
       AGAINST DEFENDANT CITY, PLED IN THE ALTERNATIVE TO COUNT 1

   For her cause of action against DEFENDANT CITY in Count 9, PLAINTIFF VON WALD

   states:

               67.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 9,

   the allegations of paragraphs 1 through 20.

               68.   DEFENDANT DECESPEDES proximately caused PLAINTIFF VON WALD’s

   arrest in the absence of probable cause that PLAINTIFF VON WALD committed any criminal

   offense.

               69.   The actions of DEFENDANT DECESPEDES, in causing the arrest of

   PLAINTIFF VON WALD in the absence of probable cause, were taken in the absence of lawful

   authority. The actions of DEFENDANT DECESPEDES constitute false arrest/false

   imprisonment of PLAINTIFF VON WALD under Florida law.



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               70.   The false arrest/false imprisonment of PLAINTIFF VON WALD was

   committed by DEFENDANT DECESPEDES in the course and scope of his employment as a

   police officer for DEFENDANT CITY.

               71.   As a direct and proximate result PLAINTIFF VON WALD has further suffered

   expenses of traveling to court, and loss of her freedom and civil rights, suffered loss of her

   liberty and freedom, mental anguish, loss of income, costs of bond, and loss of capacity for the

   enjoyment of life. She suffered grievously, was brought into public scandal with great

   humiliation, endured mental suffering and aggravation of her physical and mental condition and

   suffered a damaged reputation.

             WHEREFORE, PLAINITFF VON WALD prays:

                     a)    Judgment for compensatory damages in excess of $15,000;

                     b)    Cost of suit;

                     c)    Trial by jury as to all issues so triable; and

                     d)    Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 10

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF VON WALD
       AGAINST DEFENDANT CITY, PLED IN THE ALTERNATIVE TO COUNT 2

   For her cause of action against DEFENDANT CITY, in Count 10, PLAINTIFF VON WALD

   states:

               72.   PLAINTIFF VON WALD realleges and adopts, as if fully set forth in Count 10,

   the allegations of paragraphs 1 through 20.

               73.   DEFENDANT MALLETT proximately caused PLAINTIFF VON WALD’s

   arrest in the absence of probable cause that PLAINTIFF VON WALD committed any criminal

   offense.



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              74.   The actions of DEFENDANT MALLETT, in causing the arrest of PLAINTIFF

   VON WALD in the absence of probable cause, were taken in the absence of lawful authority.

   The actions of DEFENDANT MALLETT constitute false arrest/false imprisonment of

   PLAINTIFF VON WALD under Florida law.

              75.   The false arrest/false imprisonment of PLAINTIFF VON WALD was

   committed by DEFENDANT MALLETT in the course and scope of his employment as a police

   officer for DEFENDANT CITY.

              76.   As a direct and proximate result PLAINTIFF VON WALD has further suffered

   expenses of traveling to court, and loss of her freedom and civil rights, suffered loss of her

   liberty and freedom, mental anguish, loss of income, costs of bond, and loss of capacity for the

   enjoyment of life. She suffered grievously, was brought into public scandal with great

   humiliation, endured mental suffering and aggravation of her physical and mental condition and

   suffered a damaged reputation.

          WHEREFORE, PLAINITFF VON WALD prays:

                    a)     Judgment for compensatory damages in excess of $15,000;

                    b)     Cost of suit;

                    c)     Trial by jury as to all issues so triable; and

                    d)     Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT 11

    UNREASONABLE SEIZURE OR FALSE ARREST/FALSE IMPRISONMENT CLAIM
    BY PLAINTIFF CARRERAS AGAINST DEFENDANT DECESPEDES, COGNIZABLE
                           UNDER 42 U.S.C. § 1983

   For his cause of action against DEFENDANT DECESPEDES, individually, in Count 11,

   PLAINTIFF CARRERAS states:




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              77.   PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 11,

   the allegations of paragraphs 1 through 20.

              78.   DEFENDANT DECESPEDES directly or proximately caused PLAINTIFF

   CARRERAS’ arrest in the absence of probable cause that PLAINTIFF CARRERAS committed

   any criminal offense.

              79.   The conduct of DEFENDANT DECESPEDES toward PLAINTIFF

   CARRERAS, as set forth herein, was objectively unreasonable, and in violation of PLAINTIFF

   CARRERAS’ clearly established rights under the Fourth and Fourteenth Amendments and 42

   U.S.C. § 1983 to be free from unreasonable search and seizure, and to be free from arrest and

   imprisonment in the absence of probable cause.

              80.   As a direct and proximate cause of the acts described above, PLAINTIFF

   CARRERAS suffered great humiliation, mental suffering, and damaged reputation, including

   business reputation/goodwill.

              81.   As a further direct and proximate result of DEFENDANT DECESPEDES’

   actions as set forth herein, PLAINTIFF CARRERAS suffered loss of his liberty and freedom,

   loss of income, attorney expenses, costs of bond and defense, and loss of capacity for the

   enjoyment of life. PLAINTIFF CARRERAS’ losses are either permanent or continuing and

   PLAINTIFF CARRERAS will suffer the losses in the future, in violation of PLAINTIFF

   CARRERAS’ civil rights. PLAINTIFF CARRERAS has also agreed to pay the undersigned a

   reasonable fee for his services, herein.

          WHEREFORE, PLAINITFF CARRERAS prays:

                    a)     Judgment for compensatory damages in excess of $15,000;

                    b)     Judgment for exemplary damages;




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                    c)     Cost of suit;

                    d)     Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                    e)     Trial by jury as to all issues so triable; and

                    f)     Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT 12

     UNREASONABLE SEIZURE OR FALSE ARREST/FALSE IMPRISONMENT CLAIM
     BY PLAINTIFF CARRERAS AGAINST DEFENDANT MALLETT, COGNIZABLE
                          UNDER 42 U.S.C. § 1983

   For his cause of action against DEFENDANT MALLETT, individually, in Count 12,

   PLAINTIFF CARRERAS states:

              82.   PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 12,

   the allegations of paragraphs 1 through 20.

              83.   DEFENDANT MALLETT directly or proximately caused PLAINTIFF

   CARRERAS’ arrest in the absence of probable cause that PLAINTIFF CARRERAS committed

   any criminal offense.

              84.   The conduct of DEFENDANT MALLETT toward PLAINTIFF CARRERAS,

   as set forth herein, was objectively unreasonable, and in violation of PLAINTIFF CARRERAS’

   clearly established rights under the Fourth and Fourteenth Amendments and 42 U.S.C. § 1983 to

   be free from unreasonable search and seizure, and to be free from arrest and imprisonment in the

   absence of probable cause.

              85.   As a direct and proximate cause of the acts described above, PLAINTIFF

   CARRERAS suffered great humiliation, mental suffering, and damaged reputation, including

   business reputation/goodwill.

              86.   As a further direct and proximate result of DEFENDANT MALLETT’s actions




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   as set forth herein, PLAINTIFF CARRERAS suffered loss of his liberty and freedom, loss of

   income, attorney expenses, costs of bond and defense, and loss of capacity for the enjoyment of

   life. PLAINTIFF CARRERAS’ losses are either permanent or continuing and PLAINTIFF

   CARRERAS will suffer the losses in the future, in violation of PLAINTIFF CARRERAS’ civil

   rights. PLAINTIFF CARRERAS has also agreed to pay the undersigned a reasonable fee for his

   services, herein.

          WHEREFORE, PLAINITFF CARRERAS prays:

                       a)   Judgment for compensatory damages in excess of $15,000;

                       b)   Judgment for exemplary damages;

                       c)   Cost of suit;

                       d)   Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                       e)   Trial by jury as to all issues so triable; and

                       f)   Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 13

   FIRST AMENDMENT RETALIATION CLAIM BY PLAINTIFF CARRERAS AGAINST
          DEFENDANT DECESPEDES, COGNIZABLE UNDER 42 U.S.C. § 1983

   For his cause of action against DEFENDANT DECESPEDES, in Count 13, PLAINTIFF

   CARRERAS states:

              87.      PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 13,

   the allegations of paragraphs 1 through 20.

              88.      DEFENDANT DECESPEDES’ arrest of PLAINTIFF CARRERAS was in

   retaliation for PLAINTIFF CARRERAS’ statements to DEFENDANT DECESPEDES, as

   protected by the First Amendment to the United States Constitution, and in the absence of

   probable cause that PLAINTIFF CARRERAS committed any criminal offense.



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              89.   The arrest of PLAINTIFF CARRERAS by DEFENDANT DECESPEDES

   would likely deter a person of ordinary firmness from the exercise of First Amendment rights.

   The conduct of DEFENDANT DECESPEDES toward PLAINTIFF CARRERAS constitutes

   unlawful retaliation in violation of PLAINTIFF CARRERAS’ clearly established rights under

   the First and Fourteenth Amendments, and 42 U.S.C. § 1983.

              90.   As a direct and proximate cause of the acts described above, in violation of 42

   U.S.C. § 1983, PLAINTIFF CARRERAS has suffered grievously, has been brought into public

   scandal, and with great humiliation, mental suffering, damaged reputation, including business

   reputation/goodwill.

              91.   As a further direct and proximate result of the conduct of DEFENDANT

   DECESPEDES, PLAINTIFF CARRERAS suffered loss of his liberty and freedom, mental

   anguish, loss of income, attorney expenses, costs of bond, and loss of capacity for the enjoyment

   of life. The losses are either permanent or continuing and PLAINTIFF CARRERAS will suffer

   the losses in the future, in violation of PLAINTIFF CARRERAS’ civil rights. PLAINTIFF

   CARRERAS has also agreed to pay the undersigned a reasonable fee for his services herein.

          WHEREFORE, PLAINITFF CARRERAS prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Judgement for exemplary damages;

                    c)    Cost of suit;

                    d)    Reasonable attorneys fees, pursuant to 42 U.S.C. § 1988;

                    e)    Trial by jury as to all issues so triable; and

                    f)    Such other relief as this Honorable Court may deem just and appropriate.




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                                               COUNT 14

   FIRST AMENDMENT RETALIATION CLAIM BY PLAINTIFF CARRERAS AGAINST
           DEFENDANT MALLETT, COGNIZABLE UNDER 42 U.S.C. § 1983

   For his cause of action against DEFENDANT MALLETT, in Count 14, PLAINTIFF

   CARRERAS states:

              92.   PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 14,

   the allegations of paragraphs 1 through 20.

              93.   DEFENDANT MALLETT’s arrest of PLAINTIFF CARRERAS was in

   retaliation for PLAINTIFF CARRERAS’ statements to DEFENDANT MALLETT and his

   action of recording a public official discharging his public duties, as protected by the First

   Amendment to the United States Constitution, and in the absence of probable cause that

   PLAINTIFF CARRERAS committed any criminal offense.

              94.   The arrest of PLAINTIFF CARRERAS by DEFENDANT MALLETT would

   likely deter a person of ordinary firmness from the exercise of First Amendment rights. The

   conduct of DEFENDANT MALLETT toward PLAINTIFF CARRERAS constitutes unlawful

   retaliation in violation of PLAINTIFF CARRERAS’ clearly established rights under the First

   and Fourteenth Amendments, and 42 U.S.C. § 1983.

              95.   As a direct and proximate cause of the acts described above, in violation of 42

   U.S.C. § 1983, PLAINTIFF CARRERAS has suffered grievously, has been brought into public

   scandal, and with great humiliation, mental suffering, damaged reputation, including business

   reputation/goodwill.

              96.   As a further direct and proximate result of the conduct of DEFENDANT

   MALLETT, PLAINTIFF CARRERAS suffered loss of his liberty and freedom, mental anguish,

   loss of income, attorney expenses, costs of bond, and loss of capacity for the enjoyment of life.



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   The losses are either permanent or continuing and PLAINTIFF CARRERAS will suffer the

   losses in the future, in violation of PLAINTIFF CARRERAS’ civil rights. PLAINTIFF

   CARRERAS has also agreed to pay the undersigned a reasonable fee for his services herein.

          WHEREFORE, PLAINITFF CARRERAS prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Judgement for exemplary damages;

                    c)    Cost of suit;

                    d)    Reasonable attorneys fees, pursuant to 42 U.S.C. § 1988;

                    e)    Trial by jury as to all issues so triable; and

                    f)    Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 15

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF CARRERAS
                     AGAINST DEFENDANT DECESPEDES

   For his cause of action against DEFENDANT DECESPEDES, in Count 15, PLAINTIFF

   CARRERAS states:

              97.   PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 15,

   the allegations of paragraphs 1 through 20.

              98.   DEFENDANT DECESPEDES, by direct act or indirect procurement,

   personally participated in or proximately caused PLAINTIFF CARRERAS’ false arrest and/or

   false imprisonment.

              99.   The actions of DEFENDANT DECESPEDES were taken in the absence of

   probable cause that PLAINTIFF CARRERAS committed any criminal offense, and constitute

   false arrest and/or imprisonment under Florida law.

              100. As a result of the false arrest and false imprisonment, PLAINTIFF CARRERAS



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   has suffered grievously and has been brought into public scandal, with great humiliation, mental

   suffering, and damaged reputation, and has suffered other damages, including but not limited to

   loss of earnings, loss of ability to earn future wages, loss of capacity for enjoyment of life, and

   loss of liberty.

               101. PLAINTIFF CARRERAS’ losses are either permanent or continuing in nature,

   and PLAINTIFF CARRERAS will suffer the losses in the future.

           WHEREFORE, PLAINITFF CARRERAS prays:

                      a)   Judgment for compensatory damages in excess of $15,000;

                      b)   Cost of suit;

                      c)   Trial by jury as to all issues so triable; and

                      d)   Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT 16

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF CARRERAS
                      AGAINST DEFENDANT MALLETT

   For his cause of action against DEFENDANT MALLETT, in Count 16, PLAINTIFF

   CARRERAS states:

               102. PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 16

   the allegations of paragraphs 1 through 20.

               103. DEFENDANT MALLETT, by direct act or indirect procurement, personally

   participated in or proximately caused PLAINTIFF CARRERAS’ false arrest and/or false

   imprisonment.

               104. The actions of DEFENDANT MALLETT were taken in the absence of probable

   cause that PLAINTIFF CARRERAS committed any criminal offense, and constitute false arrest

   and/or imprisonment under Florida law.



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               105. As a result of the false arrest and false imprisonment, PLAINTIFF CARRERAS

   has suffered grievously and has been brought into public scandal, with great humiliation, mental

   suffering, and damaged reputation, and has suffered other damages, including but not limited to

   loss of earnings, loss of ability to earn future wages, loss of capacity for enjoyment of life, and

   loss of liberty.

               106. PLAINTIFF CARRERAS’ losses are either permanent or continuing in nature,

   and PLAINTIFF CARRERAS will suffer the losses in the future.

           WHEREFORE, PLAINITFF CARRERAS prays:

                      a)   Judgment for compensatory damages in excess of $15,000;

                      b)   Cost of suit;

                      c)   Trial by jury as to all issues so triable; and

                      d)   Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT 17

        MALICIOUS PROSECUTION CLAIM BY PLAINTIFF CARRERAS AGAINST
                   DEFENDANT DECESPEDES, INDIVIDUALLY

   For his cause of action against DEFENDANT DECESPEDES, individually, in Count 17,

   PLAINTIFF CARRERAS states:

               107. PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 17,

   the allegations of paragraphs 1 through 20.

               108. No reasonably cautious police officer in the position of DEFENDANT

   DECESPEDES would have believed PLAINTIFF CARRERAS was guilty-in-fact of any

   criminal offense.

               109. DEFENDANT DECESPEDES, individually, directly or proximately caused

   criminal proceedings to be instituted or continued against PLAINTIFF CARRERAS with malice



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   and in the absence of probable cause that PLAINTIFF CARRERAS committed any criminal

   offense by causing police reports to be submitted to prosecuting authorities containing materially

   false statements and material omissions.

              110. The conduct of DEFENDANT DECESPEDES, individually, was reckless and

   without regard to whether the institution of continuation of criminal proceedings against

   PLAINTIFF CARRERAS were justified.

              111. At all times material hereto, DEFENDANT DECESPEDES knew that his sworn

   police reports would be submitted to prosecuting authorities, and would be relied upon by

   prosecuting authorities for the institution and continuation of criminal proceedings against

   PLAINTIFF CARRERAS.

              112. The criminal proceedings instituted or continued by DEFENDANT

   DECESPEDES reached a bona fide resolution in the favor of PLAINTIFF CARRERAS.

              113. As a direct and proximate result of the acts described above, PLAINTIFF

   CARRERAS has suffered grievously and has been brought into public scandal, with great

   humiliation, mental suffering and damaged reputation, including business reputation/goodwill.

              114. As a further direct and proximate result of the conduct of DEFENDANT

   DECESPEDES, individually, PLAINTIFF CARRERAS suffered loss of his liberty and freedom,

   loss of income, attorney expenses, cost of defense, and loss of capacity for the enjoyment of life.

   PLAINTIFF CARRERAS’ losses are either permanent or continuing and PLAINTIFF

   CARRERAS will suffer the losses in the future, in violation of PLAINTIFF CARRERAS’ rights.

          WHEREFORE, PLAINITFF CARRERAS prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Judgment for exemplary damages;




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                    c)    Cost of suit;

                    d)    Trial by jury as to all issues so triable; and

                    e)    Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 18

        MALICIOUS PROSECUTION CLAIM BY PLAINTIFF CARRERAS AGAINST
                    DEFENDANT MALLETT, INDIVIDUALLY

   For his cause of action against DEFENDANT MALLETT, individually, in Count 18,

   PLAINTIFF CARRERAS states:

              115. PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 18,

   the allegations of paragraphs 1 through 20.

              116. No reasonably cautious police officer in the position of DEFENDANT

   MALLETT would have believed PLAINTIFF CARRERAS was guilty-in-fact of any criminal

   offense.

              117. DEFENDANT MALLETT, individually, directly or proximately caused

   criminal proceedings to be instituted or continued against PLAINTIFF CARRERAS with malice

   and in the absence of probable cause that PLAINTIFF CARRERAS committed any criminal

   offense by causing police reports to be submitted to prosecuting authorities containing materially

   false statements and material omissions.

              118. The conduct of DEFENDANT MALLETT, individually, was reckless and

   without regard to whether the institution of continuation of criminal proceedings against

   PLAINTIFF CARRERAS were justified.

              119. At all times material hereto, DEFENDANT MALLETT knew that his sworn

   police reports would be submitted to prosecuting authorities, and would be relied upon by

   prosecuting authorities for the institution and continuation of criminal proceedings against



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   PLAINTIFF CARRERAS.

               120. The criminal proceedings instituted or continued by DEFENDANT MALLETT

   reached a bona fide resolution in the favor of PLAINTIFF CARRERAS.

               121. As a direct and proximate result of the acts described above, PLAINTIFF

   CARRERAS has suffered grievously and has been brought into public scandal, with great

   humiliation, mental suffering and damaged reputation, including business reputation/goodwill.

               122. As a further direct and proximate result of the conduct of DEFENDANT

   MALLETT, individually, PLAINTIFF CARRERAS suffered loss of his liberty and freedom,

   loss of income, attorney expenses, cost of defense, and loss of capacity for the enjoyment of life.

   PLAINTIFF CARRERAS’ losses are either permanent or continuing and PLAINTIFF

   CARRERAS will suffer the losses in the future, in violation of PLAINTIFF CARRERAS’ rights.

             WHEREFORE, PLAINITFF CARRERAS prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Judgment for exemplary damages;

                    c)    Cost of suit;

                    d)    Trial by jury as to all issues so triable; and

                    e)    Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 19

      FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF CARRERAS
       AGAINST DEFENDANT CITY, PLED IN THE ALTERNATIVE TO COUNT 11

   For his cause of action against DEFENDANT CITY, in Count 19, PLAINTIFF CARRERAS

   states:

               123. PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 19,

   the allegations of paragraphs 1 through 20.



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              124. DEFENDANT DECESPEDES proximately caused PLAINTIFF CARRERAS’

   arrest in the absence of probable cause that PLAINTIFF CARRERAS committed any criminal

   offense.

              125. The actions of DEFENDANT DECESPEDES, in causing the arrest of

   PLAINTIFF CARRERAS in the absence of probable cause, were taken in the absence of lawful

   authority. The actions of DEFENDANT DECESPEDES constitute false arrest/false

   imprisonment of PLAINTIFF CARRERAS under Florida law.

              126. The false arrest/false imprisonment of PLAINTIFF CARRERAS was

   committed by DEFENDANT DECESPEDES in the course and scope of his employment as a

   police officer for DEFENDANT CITY.

              127. As a direct and proximate result PLAINTIFF CARRERAS has further suffered

   expenses of traveling to court, and loss of his freedom and civil rights, suffered loss of his liberty

   and freedom, mental anguish, loss of income, costs of bond, and loss of capacity for the

   enjoyment of life. He suffered grievously, was brought into public scandal with great

   humiliation, endured mental suffering and aggravation of his physical and mental condition and

   suffered a damaged reputation.

          WHEREFORE, PLAINITFF CARRERAS prays:

                    a)     Judgment for compensatory damages in excess of $15,000;

                    b)     Cost of suit;

                    c)     Trial by jury as to all issues so triable; and

                    d)     Such other relief as this Honorable Court may deem just and appropriate.

                                                 COUNT 20

      FALSE ARREST/FALSE IMPRISONMENT CLAIM OF PLAINTIFF CARRERAS
       AGAINST DEFENDANT CITY, PLED IN THE ALTERNATIVE TO COUNT 12



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   For his cause of action against DEFENDANT CITY, in Count 20, PLAINTIFF CARRERAS

   states:

               128. PLAINTIFF CARRERAS realleges and adopts, as if fully set forth in Count 20,

   the allegations of paragraphs 1 through 20.

               129. DEFENDANT MALLETT proximately caused PLAINTIFF CARRERAS’

   arrest in the absence of probable cause that PLAINTIFF CARRERAS committed any criminal

   offense.

               130. The actions of DEFENDANT MALLETT, in causing the arrest of PLAINTIFF

   CARRERAS in the absence of probable cause, were taken in the absence of lawful authority.

   The actions of DEFENDANT MALLETT constitute false arrest/false imprisonment of

   PLAINTIFF CARRERAS under Florida law.

               131. The false arrest/false imprisonment of PLAINTIFF CARRERAS was

   committed by DEFENDANT MALLETT in the course and scope of his employment as a police

   officer for DEFENDANT CITY.

               132. As a direct and proximate result PLAINTIFF CARRERAS has further suffered

   expenses of traveling to court, and loss of his freedom and civil rights, suffered loss of his liberty

   and freedom, mental anguish, loss of income, costs of bond, and loss of capacity for the

   enjoyment of life. He suffered grievously, was brought into public scandal with great

   humiliation, endured mental suffering and aggravation of his physical and mental condition and

   suffered a damaged reputation.

             WHEREFORE, PLAINITFF CARRERAS prays:

                    a)     Judgment for compensatory damages in excess of $15,000;

                    b)     Cost of suit;



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                 c)   Trial by jury as to all issues so triable; and

                 d)   Such other relief as this Honorable Court may deem just and appropriate.



   DATED: July 31, 2019

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                                                              Michael H. Glasser
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